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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 J.G.G., et al.,

         Plaintiffs,
                                                        Civil Action No. 25-766 (JEB)
                   v.
 DONALD J. TRUMP, et al.,

         Defendants.




                                             ORDER

       On March 18, 2025, the Court ordered Defendants to provide by noon the following day

specific information regarding flights carrying individuals subject to the Court’s Temporary

Restraining Orders issued three days before. See Minute Order of 3/18/25. Defendants instead

filed a pleading shortly before the deadline seeking to stay the Order in large part on the ground

that they were considering whether to invoke the state-secrets privilege. See ECF No. 37 (Stay

Motion) at 3–4. Although skeptical of the applicability of such privilege, the Court granted

Defendants another 24 hours either to release the information ordered or to invoke the privilege.

See ECF No. 38 (Order).

       In an ex parte pleading delivered shortly after today’s deadline, the Government again

evaded its obligations. It submitted a six-paragraph declaration from the Acting Field Office

Director for Enforcement and Removal Operations at U.S. Immigration and Customs

Enforcement’s Harlingen, Texas, Field Office, the contents of which the Government has

informed the Court may be disclosed. After four paragraphs of identifying information, he




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repeated the same general information about the flights: “On March 15, 2025, two flights

carrying aliens being removed under the AEA departed U.S. airspace before the Court’s minute

order of 7:25 PM EDT, and before the Court’s oral statements during the hearing.” Decl. of

Robert L. Cerna, ¶ 5. He then stated, “I understand that Cabinet Secretaries are currently

actively considering whether to invoke the state secrets privilege over the other facts requested

by the Court’s order. Doing so is a serious matter that requires careful consideration of national

security and foreign relations, and it cannot properly be undertaken in just 24 hours.” Id., ¶ 6

(emphasis added).

       This is woefully insufficient. To begin, the Government cannot proffer a regional ICE

official to attest to Cabinet-level discussions of the state-secrets privilege; indeed, his declaration

on that point, not surprisingly, is based solely on his unsubstantiated “understand[ing].”

Although its skepticism concerning the suitability of such privilege expressed in yesterday’s

Order remains, the Court at a minimum requires an official with direct involvement to swear that

deliberations of the privilege’s invocation are ongoing at the level Cerna attests. It further

expects such deliberations to be concluded by March 25, 2025, which only exceedingly good

cause may excuse.

       In addition, to avoid further delay, the Court will require Defendants to show cause on

the facts that they have already disclosed as to why the failure to return the class members

aboard the two earliest planes did not violate the Court’s Temporary Restraining Orders. Further

supplementation may be required once particulars are ultimately disclosed.

       The Court, accordingly, ORDERS that:




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      1. By March 21, 2025, at 10:00 a.m., Defendants shall submit a sworn declaration by a

         person with direct involvement in the Cabinet-level discussions regarding invocation

         of the state-secrets privilege;

      2. By March 25, 2025, Defendants shall submit a declaration indicating whether or not

         the Government is invoking the privilege;

      3. By March 25, 2025, Defendants shall file a brief showing cause why they did not

         violate the Court’s Temporary Restraining Orders by failing to return class members

         removed from the United States on the two earliest planes that departed on March 15,

         2025; and

      4. Plaintiffs may file any response to such brief by March 31, 2025.

                                                         /s/ James E. Boasberg
                                                         JAMES E. BOASBERG
                                                         United States District Judge
Date: March 20, 2025




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